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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION

   MANDY KELLEY                                            §
       Plaintiff,                                          §
                                                           §
                                                           §
                                                           §               CIVIL ACTION:
                                                           §               3:22-cv-00374
   v.                                                      §
                                                           §
                                                           §
                                                           §
  FCI LENDER SERVICES INC.,                                §
  HAYMARKET INSURANCE COMPANY                              §
       Defendant(s).                                       §
                                                           §



                                 JOINT STIPULATION OF DISMISSAL

TO THE HONORABLE JUDGE OF SAID COURT:

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff MANDY KELLEY (hereinafter

“Plaintiff” or “KELLY”), and Defendant(s) FCI LENDER SERVICES INC., (hereinafter “Defendant” or

“FCI”) and HAYMARKET INSURANCE COMPANY (hereinafter “Defendant” or “HAYMARKET”) (and

hereby stipulate and agree to the following:

           1.     All matters in controversy between Plaintiff and Defendant(s) in the above-entitled and

numbered cause have been fully and finally settled and, as such, all claims in this case against Defendant(s),

which were or could have been asserted by Plaintiff, are dismissed without prejudice.

           2.     Plaintiff as well as Defendant(s) shall bear their own attorney’s fees, expert fees, litigation

expenses and costs incurred in litigating and settling these claims.

           3.     This stipulation is made pursuant to the agreement and understanding between counsel for the

parties.
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        WHEREFORE, PREMISES CONSIDERED, Plaintiff as well as Defendant(s) jointly request that the

Court enter the attached Order dismissing the above-entitled and numbered cause without prejudice, with

costs of court being assessed against the party incurring same.

Dated: December 4, 2022

                                                          Respectfully Submitted:

                                                          JACK O’BOYLE & ASSOCIATES


                                                            /s/ Travis H. Gray
                                                          Travis H. Gray
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                                                          ATTORNEYS FOR DEFENDANT(S) FCI
                                                          LENDER SERVICES INC.,
                                                          HAYMARKET INSURANCE COMPANY

                                                          Agreed To and Respectfully Submitted:

                                                            /s/ GREG B. ENOS
                                                          GREG B. ENOS
                                                          SBN: 06630450
                                                          THE ENOS LAW FIRM, P.C.
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                                                          WEBSTER, TX 77598
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                                                          COUNSEL FOR PLAINTIFF
                                                          MANDY KELLEY
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                                    CERTIFICATE OF SERVICE
       This is to certify that a true, correct and complete copy of the foregoing document has been served in
accordance with the Federal Rules of Civil Procedure on December 4, 2022 to:

Greg B. Enos
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Counsel for Plaintiff Mandy Kelley


                                                          /s/ Travis H. Gray
                                                          Travis H. Gray
